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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 LAMAR MARSHALL                                    :
                                                   :             CIVIL ACTION
                v.                                 :
                                                   :             NO. 22-3416-JMY
 DELAWARE COUNTY d/b/a GEORGE W.                   :
 HILL CORRECTIONAL FACILITY, et al.                :
                                                   :

                      ORDER FOR RULE 16 CONFERENCE (VIDEO)

       AND NOW, this 27th day of September, 2022, it is ORDERED that a Fed. R. Civ. P. 16

conference with the Court will be held on Thursday, November 10, 2022, at 10:00 a.m. Counsel

shall appear by video and will be notified by Chambers staff via email of the conference link

instructions.

       IT IS FURTHER ORDERED as follows:

       1.       The parties shall make the required initial disclosures pursuant to Fed. R. Civ. P.

26(a) within 14 days of the date of this Order.

       2.       The parties shall commence discovery immediately and shall have conducted

substantial discovery before the Rule 16 conference.

       3.       After consultation with counsel for all parties, counsel shall complete the required

Joint Report of Rule 26(f) Meeting and file the same with the Clerk of Court at least seven (7)

days prior to the Rule 16 conference. Counsel shall incorporate all the information described in

Judge Younge’s form Report, which can be found at: http://www.paed.uscourts.gov/judges-

info/district-court-judges/john-milton-younge.

                                                       BY THE COURT:


                                                        /s/ John Milton Younge
                                                       JUDGE JOHN MILTON YOUNGE
